Case 1:20-cv-22468-KMW Document 1 Entered on FLSD Docket 06/15/2020 Page 1 of 12



                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

                                                CASE NO.:

  DOUG LONGHINI,

              Plaintiff,
  v.

  BISCAYNER SOUTH, LLC and YNTO
  FOOD CORP.,

          Defendants.
  ______________________________________/

                                               COMPLAINT

         Plaintiff, DOUG LONGHINI, individually and on behalf of all other similarly situated

  mobility-impaired individuals (hereinafter “Plaintiff”), sues BISCAYNER SOUTH, LLC and

  YNTO FOOD CORP., (hereinafter “Defendants”), and as grounds alleges:

                                JURISDICTION, PARTIES. AND VENUE

         1.          This is an action for injunctive relief, a declaration of rights, attorneys' fees,

  litigation expenses, and costs pursuant to 42 U.S.C. § 12181, et seq., (the “Americans with

  Disabilities Act” or “ADA”) and 28 U.S.C. §§ 2201 and 2202.

         2.           The Court has original jurisdiction over Plaintiff’s claims arising under 42 U.S.C.

  § 12181, et seq. pursuant to 28 U.S.C. §§ 1331, 1343 and 42 U.S.C. § 12117(a).

         3.           The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 2201 and

  2202, and may render declaratory judgment on the existence or nonexistence of any right under 42

  U.S.C. § 12181, et seq.

         4.           Plaintiff, DOUG LONGHINI, is an individual over eighteen years of age, with a

  residence in Miami-Dade County, Florida, and is otherwise sui juris.

         5.           At all material times, Defendant BISCAYNER SOUTH, LLC and operated a

  commercial property at 1851 NE 2nd Avenue, Miami, Florida (hereinafter the “Commercial
Case 1:20-cv-22468-KMW Document 1 Entered on FLSD Docket 06/15/2020 Page 2 of 12



  Property”) and conducted a substantial amount of business in that place of public accommodation

  in Miami-Dade County, Florida.

         6.          At all material times Defendant BISCAYNER SOUTH, LLC was a Florida

  Limited Liability Company organized under the laws of the state of Florida with its principal place

  of business in Miami, Florida and conducted a substantial amount of business in Miami-Dade

  County, Florida.

         7.          At all material times, Defendant YNTO FOOD CORP. owned and operated a

  retail supermarket business at 1851 NE 2nd Avenue, Miami, Florida (hereinafter the “Commercial

  Property”) and conducted a substantial amount of business in that place of public accommodation

  in Miami-Dade County, Florida. Defendants holds itself out to the public as “Price Choice Food

  Market #5.”

         8.          At all material times Defendant YNTO FOOD CORP. was a Florida Profit

  Corporation organized under the laws of the state of Florida, with its principal place of business in

  Miami, Florida and conducted a substantial amount of business in Miami-Dade County, Florida.

         9.          Venue is properly located in the Southern District of Florida because Defendants’

  Commercial Property is located in Miami-Dade County, Florida, Defendants regularly conduct

  business within Miami-Dade, Florida, and because a substantial part(s) of the events or omissions

  giving rise to these claims occurred in Miami-Dade, Florida.

                                      FACTUAL ALLEGATIONS

         10.         Although over twenty-eight (28) years have passed since the effective date of Title

  III of the ADA, Defendants have yet to make its facilities accessible to individuals with disabilities.

         11.         Congress provided commercial businesses one and a half years to implement the

  Act. The effective date was January 26, 1992. In spite of this abundant lead-time and the

  extensive publicity the ADA has received since 1990, Defendants continue to discriminate against

                                                     2
Case 1:20-cv-22468-KMW Document 1 Entered on FLSD Docket 06/15/2020 Page 3 of 12



  people who are disabled in ways that block them from access and use of Defendants’ businesses

  and properties.

         12.        The ADA prohibits discrimination on the basis of disability in 28 CFR 36.201 and

  requires landlords and tenants to be liable for compliance

         13.        Plaintiff, DOUG LONGHINI, is an individual with disabilities as defined by and

  pursuant to the ADA. DOUG LONGHINI uses a wheelchair to ambulate. DOUG LONGHINI

  has very limited use of his hands and cannot operate any mechanisms which require tight grasping

  or twisting of the wrist. He also has a great deal of trouble walking or otherwise ambulating

  without the use of a wheelchair. He is limited in his major life activities by such, including but

  not limited to walking, standing, grabbing, grasping and/or pinching.

         14.        Defendants, BISCAYNER SOUTH, LLC and YNTO FOOD CORP., own,

  operate and oversee the Commercial Property, its general parking lot and parking spots.

         15.        The subject Commercial Property is open to the public and is located in Miami,

  Miami-Dade County, Florida.

         16.        The individual Plaintiff visits the Commercial Property and businesses located

  within the Commercial Property, regularly, to include a visit to the Commercial Property and

  businesses located within the Commercial Property on or about February 13, 2020, and

  encountered multiple violations of the ADA that directly affected his ability to use and enjoy the

  Commercial Property and businesses located therein. He often visits the Commercial Property

  and businesses located within the Commercial Property in order to avail himself of the goods and

  services offered there, and because it is approximately twenty (20) miles from his residence, and

  is near his friends’ residences as well as other businesses and restaurants he frequents as a patron.

  He plans to return to the Commercial Property and the businesses located within the Commercial

  Property within two (2) months from the date of the filing of this Complaint.

                                                   3
Case 1:20-cv-22468-KMW Document 1 Entered on FLSD Docket 06/15/2020 Page 4 of 12



         17.       Plaintiff is the President of National Alliance for Accessibility, Inc. and often

  travels through South Florida to conduct outreach activities on behalf of National Alliance for

  Accessibility, Inc. Many members and prospective members have transportation difficulties which

  requires Plaintiff to travel to visit members and prospective members.

         18.       Plaintiff resides nearby in the same County and state as the Commercial Property

  and the businesses located within the Commercial Property, has regularly frequented the

  Defendants’ Commercial Property and the businesses located within the Commercial Property for

  the intended purposes because of the proximity to his and his friends’ residences and other

  businesses that he frequents as a patron, and intends to return to the Commercial Property and

  businesses located within the Commercial Property within two (2) months from the filing of this

  Complaint.

         19.       The Plaintiff found the Commercial Property, and the businesses located within

  the Commercial Property to be rife with ADA violations. The Plaintiff encountered architectural

  barriers at the Commercial Property, and businesses located within the Commercial Property and

  wishes to continue his patronage and use of each of the premises.

         20.       The Plaintiff has encountered architectural barriers that are in violation of the

  ADA at the subject Commercial Property, and businesses located within the Commercial Property.

  The barriers to access at Defendants’ Commercial Property, and the businesses located within the

  Commercial Property have each denied or diminished Plaintiff’s ability to visit the Commercial

  Property, and businesses located within the Commercial Property, and have endangered his safety

  in violation of the ADA. The barriers to access, which are set forth below, have likewise posed a

  risk of injury(ies), embarrassment, and discomfort to Plaintiff, DOUG LONGHINI, and others

  similarly situated.

         21.       Defendants, BISCAYNER SOUTH, LLC and YNTO FOOD CORP., own and

                                                  4
Case 1:20-cv-22468-KMW Document 1 Entered on FLSD Docket 06/15/2020 Page 5 of 12



  operate a place of public accommodation as defined by the ADA and the regulations implementing

  the ADA, 28 CFR 36.201 (a) and 36.104. Defendants, BISCAYNER SOUTH, LLC and YNTO

  FOOD CORP., is responsible for complying with the obligations of the ADA. The place of public

  accommodation that Defendants, BISCAYNER SOUTH, LLC and YNTO FOOD CORP., own

  and operate the Commercial Property Business located at 1851 NE 2nd Avenue, Miami, Florida.

         22.      Plaintiff, DOUG LONGHINI, has a realistic, credible, existing and continuing

  threat of discrimination from the Defendants’ non-compliance with the ADA with respect to the

  described Commercial Property and the businesses located within the Commercial Property,

  including but not necessarily limited to the allegations in Paragraph 27 of this Complaint.

  Plaintiff has reasonable grounds to believe that he will continue to be subjected to discrimination

  at the Commercial Property, and businesses located within the Commercial Property, in violation

  of the ADA. Plaintiff desires to visit the Commercial Property and businesses located therein, not

  only to avail himself of the goods and services available at the Commercial Property, and

  businesses located within the Commercial Property, but to assure himself that the Commercial

  Property and businesses located within the Commercial Property are in compliance with the ADA,

  so that he and others similarly situated will have full and equal enjoyment of the Commercial

  Property, and businesses located within the Commercial Property without fear of discrimination.

         23.      Defendants, BISCAYNER SOUTH, LLC and YNTO FOOD CORP., as landlord

  and owner of the Commercial Property, is responsible for all ADA violations listed in Paragraph

  27 of this Complaint.

         24.      Plaintiff, DOUG LONGHINI, has a realistic, credible, existing and continuing

  threat of discrimination from the Defendants’ non-compliance with the ADA with respect to the

  described Commercial Property and businesses located within the Commercial Property, but not

  necessarily limited to the allegations in Paragraph 27 of this Complaint. Plaintiff has reasonable

                                                  5
Case 1:20-cv-22468-KMW Document 1 Entered on FLSD Docket 06/15/2020 Page 6 of 12



  grounds to believe that he will continue to be subjected to discrimination at the Commercial

  Property, and businesses within the Commercial Property, in violation of the ADA. Plaintiff

  desires to visit the Commercial Property and businesses within the Commercial Property, not only

  to avail himself of the goods and services available at the Commercial Property and businesses

  located within the Commercial Property, but to assure himself that the Commercial Property, and

  businesses located within the Commercial Property are in compliance with the ADA, so that he

  and others similarly situated will have full and equal enjoyment of the Commercial Property, and

  businesses located within the Commercial Property without fear of discrimination.

         25.       Defendants have discriminated against the individual Plaintiff by denying him

  access to, and full and equal enjoyment of, the goods, services, facilities, privileges, advantages

  and/or accommodations of the Commercial Property, and businesses located within the

  Commercial Property, as prohibited by 42 U.S.C. § 12182 et seq.

                                        ADA VIOLATIONS

         26.       The Plaintiff adopts and re-alleges the allegations set forth in paragraphs 1

  through 25 above as though fully set forth herein.

         27.       Defendants, BISCAYNER SOUTH, LLC and YNTO FOOD CORP., have

  discriminated, and continue to discriminate, against Plaintiff in violation of the ADA by failing,

  inter alia, to have accessible facilities by January 26, 1992 (or January 26, 1993, if a Defendant

  has 10 or fewer employees and gross receipts of $500,000 or less). A list of the violations that

  Plaintiff encountered during his visit to the Commercial Property, include but are not limited to,

  the following:

         A. Parking




                                                  6
Case 1:20-cv-22468-KMW Document 1 Entered on FLSD Docket 06/15/2020 Page 7 of 12



  i.   There are accessible parking spaces with signs that are mounted too low, violating Section

       4.6.4 of the ADAAG and Section 502.6 of the 2010 ADA Standards, whose resolution is

       readily achievable.

          B. Entrance Access and Path of Travel

  i.   The Plaintiff had difficulty traversing the path of travel, as it was not continuous and accessible.

       Violation: There are inaccessible routes from the public sidewalk and transportation stop.

       These are violations of the requirements in Sections 4.3.2(1), 4.3.8, 4.5.1, and 4.5.2 of the

       ADAAG and Sections 206.2.1, 302.1, 303, and 402.2 of the 2010 ADA Standards, whose

       resolution is readily achievable.

 ii.   The Plaintiff had difficulty traversing the path of travel due to abrupt changes in level.

       Violation: There are changes in levels of greater than ½ inch, violating Sections 4.3.8 and 4.5.2

       of the ADAAG and Section 303 of the 2010 ADA Standards, whose resolution is readily

       achievable.

iii.   The Plaintiff could not traverse through areas of the facility, as the required 36” path is not

       provided. Violation: A continuous path of travel connecting all essential elements of the

       facility is not provided, violating Sections 4.2.1, 4.3.2(2), & 4.3.3 of the ADAAG and Sections

       206.2.2 & 403.5.1 of the 2010 ADA Standards, whose resolution is readily achievable.

iv.    The Plaintiff had difficulty traversing the path of travel, as it was not continuous and accessible.

       Violation: There are inaccessible routes between sections of the facility. These are violations

       of the requirements in Sections 4.3.2(2), 4.3, and 4.5 of the ADAAG and Sections 206.2.2,

       303, 402 and 403, whose resolution is readily achievable.

 v.    The Plaintiff had difficulty traversing the path of travel, as there are cross slopes in excess of

       2%. Violation: The path of travel contains excessive cross slopes in violation of Section 4.3.7



                                                      7
Case 1:20-cv-22468-KMW Document 1 Entered on FLSD Docket 06/15/2020 Page 8 of 12



       of the ADAAG and Section 403.3 of the 2010 ADA Standards, whose resolution is readily

       achievable.

          C. Access to Goods and Services

  i.   There is seating provided at the facility that does not comply with the standards prescribed in

       Section 4.32 of the ADAAG and Sections 226 & 902 of the 2010 ADA Standards, whose

       resolution is readily achievable.

          D. Public Restrooms

  i.   There are permanently designated interior spaces without proper signage, violating Section

       4.1.3(16) and 4.30 of the ADAAG and Sections 216.2 and 703 of the 2010 ADA Standards,

       whose resolution is readily achievable.

 ii.   The Plaintiff had difficulty using the locking mechanism on the restroom door without

       assistance, as it requires tight grasping. Violation: The restroom door has non-compliant

       hardware for disabled patrons, violating Sections 4.13.9 & 4.27.4 of the ADAAG and Sections

       309.4 & 404.2.7 of the 2010 ADA Standards, whose resolution is readily achievable.

iii.   The Plaintiff could not use the toilet seat cover dispenser without assistance as it is mounted at

       a location where the clear floor space to access it is not provided. Violation: The clear floor

       space provided at elements in the restroom violates the provisions of Sections 4.2.4 and 4.27.2

       of the ADAAG and Section 305.3 of the 2010 ADA Standards, whose resolution is readily

       achievable.



iv.    The Plaintiff had difficulty using the toilet without assistance, as it is not mounted at the

       required distance from the side wall. Violation: The water closet is mounted at a non-compliant

       distance from the side wall, violating Section 4.16.2 and Figure 28 of the ADAAG and Section

       604.2 of the 2010 ADA Standards, whose resolution is readily achievable.

                                                     8
Case 1:20-cv-22468-KMW Document 1 Entered on FLSD Docket 06/15/2020 Page 9 of 12



 v.       The Plaintiff had difficulty entering the restroom without assistance, as the door threshold is

          too high. Violation: There are threshold rises in excess of ½ inch at the restroom entrances,

          violating Section 4.13.8 of the ADAAG and Section 404.2.5 of the 2010 ADA Standards,

          whose resolution is readily achievable.

vi.       The Plaintiff could not enter the restroom without assistance, as the required maneuvering

          clearance was not provided due to objects on the floor. Violation: The restroom door does not

          provide the required latch side clearance due to a lack of maintenance violating Section 4.13.6

          of the ADAAG, 28 CFR 36.211, and Section 404.2.4 of the 2010 ADA Standards, whose

          resolution is readily achievable.

vii.      The Plaintiff was exposed to a cutting/burning hazard because the lavatory pipes are not

          wrapped. Violation: The lavatory pipes are not fully wrapped or maintained violating Section

          4.19.4 of the ADAAG and Section 606.5 of the 2010 ADA Standards, whose resolution is

          readily achievable.

                                    RELIEF SOUGHT AND THE BASIS

              28.       The discriminatory violations described in Paragraph 27 are not an exclusive list

       of the Defendants’ ADA violations. Plaintiff requests an inspection of the Defendants’ places of

       public accommodation in order to photograph and measure all of the discriminatory acts violating

       the ADA and barriers to access in conjunction with Rule 34 and timely notice. Plaintiff further

       requests to inspect any and all barriers to access that were concealed by virtue of the barriers'

       presence, which prevented Plaintiff, DOUG LONGHINI, from further ingress, use, and equal

       enjoyment of the Commercial Business and businesses located within the Commercial Property;

       Plaintiff requests to be physically present at such inspection in conjunction with Rule 34 and timely

       notice. A complete list of the Subject Premises’ ADA violations, and the remedial measures

       necessary to remove same, will require an on-site inspection by Plaintiff’s representatives pursuant

                                                        9
Case 1:20-cv-22468-KMW Document 1 Entered on FLSD Docket 06/15/2020 Page 10 of 12



   to Federal Rule of Civil Procedure 34.

          29.          The individual Plaintiff, and all other individuals similarly situated, have been

   denied access to, and have been denied full and equal enjoyment of the goods, services, facilities

   privileges, benefits, programs and activities offered by Defendants, Defendants’ buildings,

   businesses and facilities; and has otherwise been discriminated against and damaged by the

   Defendants because of the Defendants’ ADA violations as set forth above. The individual

   Plaintiff, and all others similarly situated, will continue to suffer such discrimination, injury and

   damage without the immediate relief provided by the ADA as requested herein. In order to remedy

   this discriminatory situation, The Plaintiff requires an inspection of the Defendants’ place of public

   accommodation in order to determine all of the areas of non-compliance with the Americans with

   Disabilities Act.

          30.          Defendants have discriminated against the individual Plaintiff by denying him

   access to full and equal enjoyment of the goods, services, facilities, privileges, advantages and/or

   accommodations of its place of public accommodation or commercial facility, in violation of 42

   U.S.C. § 12181 et seq. and 28 CFR 36.302 et seq. Furthermore, the Defendants continue to

   discriminate against Plaintiff, and all those similarly situated, by failing to make reasonable

   modifications in policies, practices or procedures, when such modifications are necessary to afford

   all offered goods, services, facilities, privileges, advantages or accommodations to individuals with

   disabilities; and by failing to take such efforts that may be necessary to ensure that no individual

   with a disability is excluded, denied services, segregated or otherwise treated differently than other

   individuals because of the absence of auxiliary aids and services.

          31.          Plaintiff is without adequate remedy at law, will suffer irreparable harm, and has

   a clear legal right to the relief sought. Further, injunctive relief will serve the public interest and

   all those similarly situated to Plaintiff. Plaintiff has retained the undersigned counsel and is

                                                      10
Case 1:20-cv-22468-KMW Document 1 Entered on FLSD Docket 06/15/2020 Page 11 of 12



   entitled to recover attorneys’ fees, costs and litigation expenses from Defendants pursuant to 42

   U.S.C. § 12205 and 28 CFR 36.505.

          32.       Defendants are required to remove the existing architectural barriers to the

   physically disabled when such removal is readily achievable for their place of public

   accommodation, The Plaintiff and all others similarly situated, will continue to suffer such

   discrimination, injury and damage without the immediate relief provided by the ADA as requested

   herein. In order to remedy this discriminatory situation, The Plaintiff requires an inspection of the

   Defendants’ place of public accommodation in order to determine all of the areas of non-

   compliance with the Americans with Disabilities Act.

          33.       Notice to Defendants is not required as a result of the Defendants’ failure to cure

   the violations by January 26, 1992 (or January 26, 1993, if a Defendant has 10 or fewer employees

   and gross receipts of $500,000 or less). All other conditions precedent have been met by Plaintiff

   or waived by the Defendants.

          34.       Pursuant to 42 U.S.C. § 12188, this Court is provided with authority to grant

   Plaintiff Injunctive Relief, including an order to alter the property where Defendants operates its

   businesses, located at and/or within the commercial property located at 1851 NE 2nd Avenue,

   Miami, Florida, the exterior areas, and the common exterior areas of the Commercial Property and

   businesses located within the Commercial Property, to make those facilities readily accessible and

   useable to The Plaintiff and all other mobility-impaired persons; or by closing the facility until

   such time as the Defendants cure the violations of the ADA.

          WHEREFORE, The Plaintiff, DOUG LONGHINI, respectfully requests that this

   Honorable Court issue (i) a Declaratory Judgment determining Defendants at the commencement

   of the subject lawsuit were and are in violation of Title III of the Americans with Disabilities Act,

   42 U.S.C. § 12181 et seq.; (ii) Injunctive relief against Defendants including an order to make all

                                                    11
Case 1:20-cv-22468-KMW Document 1 Entered on FLSD Docket 06/15/2020 Page 12 of 12



   readily achievable alterations to the facilities; or to make such facilities readily accessible to and

   usable by individuals with disabilities to the extent required by the ADA; and to require Defendants

   to make reasonable modifications in policies, practices or procedures, when such modifications

   are necessary to afford all offered goods, services, facilities, privileges, advantages or

   accommodations to individuals with disabilities; and by failing to take such steps that may be

   necessary to ensure that no individual with a disability is excluded, denied services, segregated or

   otherwise treated differently than other individuals because of the absence of auxiliary aids and

   services; (iii) An award of attorneys’ fees, costs and litigation expenses pursuant to 42 U.S.C. §

   12205; and (iv) such other relief as the Court deems just and proper, and/or is allowable under

   Title III of the Americans with Disabilities Act.


   Dated: June 15, 2020
                                                  GARCIA-MENOCAL & PEREZ, P.L.
                                                  Attorneys for Plaintiff
                                                  4937 S.W. 74th Court
                                                  Miami, Florida 33155
                                                  Telephone: (305) 553-3464
                                                  Facsimile: (305) 553-3031
                                                  Primary E-Mail: ajperez@lawgmp.com
                                                  Secondary E-Mails: bvirues@lawgmp.com
                                                                        aquezada@lawgmp.com

                                                  By: ___/s/_Anthony J. Perez________
                                                         ANTHONY J. PEREZ
                                                         Florida Bar No.: 535451
                                                         BEVERLY VIRUES
                                                         Florida Bar No.: 123713




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